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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

ERIN MASCARELLI,

      Plaintiff,

v.                                                       Case No: 8:19-cv-554-T-30AEP

THE CBE GROUP, INC.,

      Defendant.


                               ORDER OF DISMISSAL

      Before the Court is the Joint Stipulation for Dismissal with Prejudice (Dkt. 16).

Upon review and consideration, it is

      ORDERED AND ADJUDGED as follows:

      1.     This cause is dismissed with prejudice, each party to bear their own

             attorney’s fees, costs and expenses.

      2.     All pending motions, if any, are denied as moot.

      3.     The Clerk is directed to close this case.

      DONE and ORDERED in Tampa, Florida, this 17th day of September, 2019.




Copies furnished to:
Counsel/Parties of Record
